       Case
AO 472 (Rev.    5:06-cr-50096-SMH-MLH
             3/86) Order of Detention Pending Trial                 Document 80             Filed 09/06/06            Page 1 of 1 PageID #:
      U.S. D istrict Court                                                345
Western District of Louisiana
 Rob ert H. Shem well, Clerk
        RECEIVED                                   UNITED STATES DISTRICT COURT
Date:   09-06-06
By       M . Cassanova
                                                         WESTERN DISTRICT OF LOUISIANA

           UNITED STATES OF AMERICA                                                                  ORDER OF DETENTION PENDING TRIAL
                  V.

                       OMAR CARTHREN                                                               CASE NO.           06-50096-04
                       Defendant


      In accordance w ith the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the detention
of the defendant pending trial in this case.
                                                                  Part I - Findings of Fact

[ ] (1) The defendan t is charged with an offense described in 18 U.S.C . § 3142(f)(1) and has been convicted of a (federal offense) (state or local offense that
        would have been a federal offense if a circumstan ce giving rise to federal jurisdiction had existed) that is
        [ ]     a crime of violence as defined in 18 U.S.C . § 3145(a)(4).
        [ ]     an offense for which the maximum sentence is life imprisonment or death.
        [ ]     an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                 .*
        [ ]     a felony was comm itted after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C . § 3142(f)(1)(A )(C),
                or comparable state or local offenses.
[ ] (2) The offense described in finding (1) was committed w hile the defendant w as on release pending trial for a federal, state, or local offense.
[ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for the offense described
        in finding (1).
[ ] (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety of
        (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.

                                                                        Alternative Findings (A)

[X ] (1) There is probable cause to believe that the defendant has comm itted an offense

           [X ]    for which a maximum term of imprisonment of ten years or more is prescribed in                The C ontrolled Substances Act                    .
           [ ]     under 18 U .S.C. § 924(c).

[X ] (2) The defendant has not reb utted the presum ption established by finding 1 that no con dition or com bination of conditions w ill reasonably
         assure the appearance of the defendant as required and the safety of the community.

                                                                        Alternative Findings (B)

[ ] (1) There is a serious risk that the defendant will not appear.

[X ] (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
  The Government presented strong evidence that Defendant's drug trafficking activities render him a danger to the community.


                                                       Part II - Written Statement of Reasons for Detention

     I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
  The government presented strong evidence that defendant is a substantial player in the Ronald King drug organization and that he
  engaged in the distribu tion of large quantities of cocaine. Evidence of his involvem ent in drug trafficking activities is show n throug h his
  participation in controlled b uys, surveillance and through the testimony of cooperating witnesses. The co urt finds that defendant's
  substantial drug trafficking activities render him a danger to the community and that he should be held in pretrial detention.


                                                           Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity
for private consultation with defense counsel. On order of court of the United States or on requ est of an attorney for the Government, the person in charge of the
corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

Date:        September 05, 2006




*Inse rt as app licab le:
(a) Contro lled Substan ces Act (21 U .S.C. § 8 01 et seq.);
(b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or
(c) Sec tion 1 of Act of Se pt. 15 , 198 0 (21 U.S .C. § 955 a.)
